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·1· · · · · · ·IN THE UNITED STATES DISTRICT COURT
·2· · · · · · · · ·FOR THE DISTRICT OF COLORADO
·3· · · · · · · ·CIVIL ACTION NO. 20-CV-01936-STV
·4
·5· · ·TIMOTHY JAMES COATES, GENE CLAPS, MARK MITCHELL, AND
·6· · · · · · · · · · · · KEVIN CURRIER,
·7· · · · · · · · · · · · · Plaintiffs
·8
·9· · · · · · · · · · · · · · · V.
10
11· · · ·THE ADAMS COUNTY SHERIFF'S OFFICE, A GOVERNMENTAL
12· · · ENTITY; RICHARD A. REIGENBORN, IN HIS OFFICIAL AND
13· · · · · · · · · · ·INDIVIDUAL CAPACITY,
14· · · · · · · · · · · · · Defendants
15
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23· ·DEPONENT:· TOMMIE MCLALLEN
24· ·DATE:· · · AUGUST 12, 2021
25· ·REPORTER:· VICTORIA JADICK




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·1· ·letterhead.
·2
·3· · · · Q· · Okay.
·4· · · · A· · But there was -- it was a big deal.· And then
·5· ·graphics, for some reason, that was near and dear to
·6· ·him.
·7· · · · Q· · Any other changes that the two of you
·8· ·discussed in this interim period before you took office?
·9· · · · A· · If I'm not recalling them, it's not
10· ·maliciousness -- there was just so much that we
11· ·discussed that I think I've -- I've hit all the big
12· ·ones.
13· · · · Q· · And you were talking about -- let me just
14· ·clarify a little bit.· When you were talking about, you
15· ·know, you have to know Rick and describing his
16· ·personality.
17· · · · A· · Right.
18· · · · Q· · You kind of threw out there, like, he vomited
19· ·and he said fire them a couple of times.· I don't know
20· ·if you were just being descriptive or if you remember
21· ·something in specific?
22· · · · A· · Paul Gregory.
23· · · · Q· · Okay.· So tell me about that conversation you
24· ·had with Sheriff Reigenborn.
25· · · · A· · We had -- going back to the -- the meetings we




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·1· ·had, it was either the first or second week or the
·2· ·second and third week of December.· We had scheduled two
·3· ·weeks.· And again, Undersheriff Lawson had really been
·4· ·instrumental in helping us set this up, got, you know, I
·5· ·believe Heidi got the police force, I don't know for
·6· ·sure, but where we could meet with -- with his folks and
·7· ·it was I believe, like, 7:30 to 6:00 at night, Monday
·8· ·through Friday.· And I recall specifically this
·9· ·particular interaction because I had heard the name Paul
10· ·Gregory before, but I had never met him.· I had heard
11· ·certain people's particular feelings about Paul Gregory
12· ·and I was very clear with myself that I wanted to walk
13· ·into this as objectively as possible, and I wanted to
14· ·get to know these people and find out who they were
15· ·since we Paul Gregory came in, and typically, you know,
16· ·we'd have this meeting last anywhere from 20 minutes all
17· ·the way to an hour, just depending, and when Paul left -
18· ·- when anybody left, we'd have a few minutes to just
19· ·kind of discuss it.· Paul left the building and Rick
20· ·stated clearly that he didn't care for him.· I didn't
21· ·ask why.
22· · · · Q· · I was about to say, did he say why?
23· · · · A· · He did not and I didn't pry, but something
24· ·about Paul to me stood up.· And as we went through these
25· ·processes, getting closer to -- to the day he took




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·1· ·office, Paul's name had come up a few times by me, as to
·2· ·where I thought he would best plug in certain spots.
·3· ·And every time I brought it up, he -- he would grumble.
·4· ·He would, you know, and just -- he wasn't thrilled with
·5· ·my thoughts on where Paul would fit.· And at one point,
·6· ·I brought it up again and when we were discussing
·7· ·something that happened the night of the election and he
·8· ·got extremely animated and vocal.· And I don't remember
·9· ·exactly the wording, but he said fine, he's going to
10· ·work under you and if he fucks up, you're going with
11· ·him.· Now, I know Rick well enough, he was -- he was --
12· ·he was mad because I kept pushing him.· But I also knew
13· ·that I could say, hold on, I don't know him that well.
14· ·I don't know if I'm going to put my neck out there for
15· ·him.· And he said, too late, and he pushed it aside and
16· ·says, don't bring it up again, that's where he's going.
17· ·And that was the end of it.· We were -- it was a jovial
18· ·conversation after he got all of that out.· And that's
19· ·what Paul Gregory ended up and he's done well for
20· ·himself since then.
21· · · · Q· · Any other individuals that you were thinking
22· ·of in terms of Sheriff Reigenborn talking about, you
23· ·know, firing him?
24· · · · A· · Manny Carrillo.
25· · · · Q· · Okay.· What do you remember about that




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·1· ·those commanders oversee the sergeants within their
·2· ·respective divisions, and the sergeants oversee the day-
·3· ·to-day operations for the line of the troops.
·4· · · · Q· · The line -- are they, like, the deputies?
·5· · · · A· · Yes.
·6· · · · Q· · Okay.· And captain?· Where's that?
·7· · · · A· · Doesn't exist in our organization.
·8· · · · Q· · That's true.· You said you were getting rid of
·9· ·those.· Where did it exist before?
10· · · · A· · Previously it -- it fell under two division
11· ·chiefs specifically --
12· · · · Q· · Okay.
13· · · · A· · -- the jail division chief and the patrol
14· ·division chief.
15· · · · Q· · Okay.· And kind of where were they in the
16· ·pecking order vis-a-vis commanders?
17· · · · A· · They would be above commanders, but only in
18· ·those two divisions.
19· · · · Q· · Okay.
20· · · · A· · And the other divisions didn't have a captain.
21· · · · Q· · And their supervisors would be the chiefs?
22· · · · A· · Correct.
23· · · · Q· · Okay.· Could you tell me the duties of a
24· ·chief?· The major duties, not --
25· · · · A· · They over --




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·1· · · · Q· · -- every teeny detail.
·2· · · · A· · -- a chief oversees the -- the specified
·3· ·division that they're assigned to, the day-to-day
·4· ·activities within that division.· They -- they knew not
·5· ·to work us in.
·6· · · · Q· · Yeah.
·7· · · · A· · Okay.
·8· · · · Q· · If this were predictable in our note?· It's,
·9· ·like, lunch in the lights.· It's not as exciting as you
10· ·think.
11· · · · A· · Yeah.· So in a nutshell, a division chief
12· ·oversees the division that they're assigned to and the
13· ·day-to-day operations of that division.
14· · · · Q· · And, kind of, what skills and qualities make
15· ·for a good chief?
16· · · · A· · Leadership --
17· · · · Q· · Or successful chief?
18· · · · A· · -- so leadership experience within the -- it
19· ·helps to have -- really do some experience within the
20· ·division that they're in.· It's not always a necessary
21· ·thing, but leadership is kind of unique.· As I'm sure
22· ·you're aware, CEO of Coke doesn't know every single
23· ·aspect of how Coke is made, but the -- the overall
24· ·operations of it.· You're looking for a strong leader,
25· ·somebody who can take charge, has the initiative to hold




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·1· ·people accountable when they need to be held
·2· ·accountable, to praise people when they need to be
·3· ·praised, and to put forth the mission of the -- the
·4· ·sheriff.
·5· · · · Q· · Is that political support of the sheriff kind
·6· ·of an important quality or skill for success as a chief
·7· ·or no?
·8· · · · A· · It is.
·9· · · · Q· · Okay.· Can you tell me a little bit about
10· ·that?
11· · · · A· · Yeah.· I mean, the chief is a position that --
12· ·it's an exempt position where, you know, it's kind of an
13· ·appointed more often than not.· Not always, but the
14· ·sheriff has the -- the right to -- to kind of assign as
15· ·they -- as he sees fair.
16· · · · Q· · Okay.· So it's appointed?
17· · · · A· · Correct.
18· · · · Q· · Okay.
19· · · · A· · It -- it -- not always, but generally.
20· · · · Q· · Uh-huh.· And so, how would political support,
21· ·like, during an election, for example -- why would that
22· ·play a role in whether a chief could perform the job
23· ·functions successfully?
24· · · · A· · It wouldn't.
25· · · · Q· · Okay.· I think I probably misunderstood your




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·1· ·answer, then.· I asked --
·2· · · · A· · I think I misunderstood your question, then.
·3· · · · Q· · Yeah.· Okay.· I asked if, like, political
·4· ·support a candidate --
·5· · · · A· · Oh.
·6· · · · Q· · -- is kind of an important quality or skill --
·7· · · · A· · I'm -- I'm sorry.
·8· · · · Q· · -- for success as a chief.
·9· · · · A· · It is not.
10· · · · Q· · Okay.
11· · · · A· · I apologize for that.
12· · · · Q· · No.· That's fine.· I mean, I probably wasn't
13· ·that clear.· So kind of, personal political affiliations
14· ·aren't a consideration --
15· · · · A· · I think --
16· · · · Q· · -- for a chief?
17· · · · A· · I think the sheriff proved that 100 percent
18· ·with his appointments.
19· · · · Q· · I mean it hypothetically --
20· · · · A· · I mean --
21· · · · Q· · -- not just, you know, Sheriff Reigenborn.
22· · · · A· · -- hypothetically, I -- politics could play
23· ·into it.· It could not.
24· · · · Q· · Would it be a consideration to your mind,
25· ·hypothetically?· Would that be an important or essential




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·1· ·quality to making a good chief?
·2· · · · A· · No.· Not at all.
·3· · · · Q· · And same question with captains, which have
·4· ·now been eliminated.· Kind of, what are the primary
·5· ·duties of a captain?
·6· · · · A· · I don't know.
·7· · · · Q· · Is that not a common position in other sheriff
·8· ·departments?· I don't know.
·9· · · · A· · It is in some and it isn't in others.· So when
10· ·I was originally working in Pueblo County, we didn't
11· ·have captains.· Captains were our managers when Sheriff
12· ·Taylor came in.· I was one of them, I was only there for
13· ·a short time.· So generally speaking, a captain is kind
14· ·of the right-hand person of the division chief or -- or
15· ·the bureau chief or whatever it is that they have.· And
16· ·the captain would be responsible more for the
17· ·administrative day-to-day operations, whereas the
18· ·division chief would just kind of delegate.
19· · · · Q· · And so, is it the kind of same skills and
20· ·qualities that would make a captain successful in that
21· ·position as you would identify for a chief or are they
22· ·different skill sets?
23· · · · A· · Well, I -- I think that generally they would
24· ·be similar.· I think maybe time in, you know, on-the-job
25· ·experience level.· I think there's a lot of things that




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·1· ·play, and there's not necessarily one thing that could
·2· ·make or break somebody from making that rank.
·3· · · · Q· · Uh-huh.· And what about political support?
·4· ·Same set of questions.· Would political support of a
·5· ·candidate or, you know, of a campaign or candidate that
·6· ·-- is that an important quality of skill for success in
·7· ·a captain position?
·8· · · · A· · No.· It's not, but let me just say that it's
·9· ·not an important event for anywhere.
10· · · · Q· · Oh, yeah.· You did jump the gun on that, but
11· ·let me ask for commander anyway.· Like, I --
12· · · · A· · Sorry.
13· · · · Q· · -- definitely signal where I'm going,
14· ·apparently.· All right.· Sorry, we just have to do these
15· ·things for a reason.
16· · · · A· · No, I understand.
17· · · · Q· · All right.· So commander, can you tell me kind
18· ·of the duties of a commander -- duties of a commander?
19· · · · A· · A commander is -- oversees a specific unit or
20· ·a set of a unit, and they basically -- they oversee the
21· ·actual operations.· They -- they -- typically would have
22· ·a few sergeants underneath them and then the deputies
23· ·below them, and the commander's responsible for ensuring
24· ·the mission is completed in -- in a proper way.
25· · · · Q· · And what skills, qualities do you think would




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·1· ·make a successful commander?
·2· · · · A· · Well-organized, a leader, 100 percent strong
·3· ·leadership values, discipline within themselves, as well
·4· ·as the ability to lead others in a general direction,
·5· ·and completing a mission timely and safely.
·6· · · · Q· · And, you know, for the successful performance
·7· ·of a commander position, is it important that, you know,
·8· ·the candidate -- the employee support a particular
·9· ·political candidate for sheriff?· Is that an important
10· ·quality or skill set for the success in a commander
11· ·position?
12· · · · A· · No.
13· · · · Q· · And how about sergeants?· What are their major
14· ·duties?
15· · · · A· · Sergeants' major duty is to oversee their
16· ·specific shift and the -- the operations and the
17· ·missions of that shift as -- as assigned for the day,
18· ·whether it's in a jail, to the housing units or whatever
19· ·it's on the streets to the specific districts, and to
20· ·assist the deputies and lead them in a direction so that
21· ·they're performing that job safely, effectively, and
22· ·efficiently and -- and doing all of -- meeting all the
23· ·requirements that are necessary, patrol function or jail
24· ·function.
25· · · · Q· · And, you know, what skills, qualities do you




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·1· ·think would make a successful sergeant?
·2· · · · A· · Leadership, ambition, the ability to separate
·3· ·themselves from the -- the troops, but still be part of
·4· ·the troops.
·5· · · · Q· · And, you know, okay --
·6· · · · A· · Understood.
·7· · · · Q· · You know I'm going to ask.· You know, is it
·8· ·kind of an important quality or skill for success in the
·9· ·position of sergeant that a particular, you know,
10· ·employee support, you know, a political candidate for
11· ·sheriff?
12· · · · A· · It is not.
13· · · · Q· · So you kind of already hinted at it.· You
14· ·don't think that kind of political affiliation or
15· ·political support is an important -- is kind of
16· ·essential to the successful performance of any of the
17· ·positions that we've talked about; is that right?
18· · · · A· · Correct.
19· · · · Q· · Okay.· And I think you also already kind of
20· ·intimated that you are maintaining that political
21· ·affiliation of any of the individuals, for example, in
22· ·Exhibit 30, that wasn't considered when they were put on
23· ·administrative leave.
24· · · · A· · To the best of my knowledge, it was not.
25· · · · Q· · Did you have a conversation at all with




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·1· ·Sheriff Reigenborn discussing, you know, whether
·2· ·political affiliation factored into his decisions?
·3· · · · A· · No.
·4· · · · Q· · Okay.· And really, kind of quick change of
·5· ·topic because I know -- so you're the undersheriff.
·6· ·Kind of, what are your major duties in your position at
·7· ·the ACSO?
·8· · · · A· · I'm responsible for running the day-to-day
·9· ·operations of the entire agency.· I kind of have the --
10· ·the -- the macro view of the agency and in charge with
11· ·every aspect of it.
12· · · · Q· · And does anyone directly report to you?
13· · · · A· · I have five division chiefs that directly
14· ·report to me and a human resources director.
15· · · · Q· · And the sheriff is your direct report?
16· · · · A· · He is.· Yes.· I'm the only one that report --
17· · · · Q· · And you report to him?
18· · · · A· · -- well, everybody reports to him, but --
19· · · · Q· · Just joking.
20· · · · A· · -- I get -- I get to talk to him the most.
21· · · · Q· · Okay.· And do you have any kind of hiring or
22· ·firing power at the ACSO as the undersheriff?
23· · · · A· · Generally, discipline falls to me.
24· · · · Q· · Okay.
25· · · · A· · So I make the recommendations.· Ultimately,




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·1· ·that the four pol -- that the policies in Exhibit 29
·2· ·were revised down the line that you're aware of?
·3· · · · A· · Well, because these were -- they were just put
·4· ·in places as, like, temporary holders so that some
·5· ·revisions could be made.· And then they were just
·6· ·revised continually as necessary and -- and they're
·7· ·still -- as every policy manual's constantly being
·8· ·revised and updated.
·9· · · · Q· · Can you tell me if you know what changes have
10· ·been made to policy 1, at-will employment policy and
11· ·termination procedures, that you're aware of?
12· · · · A· · I don't know that any changes have been made
13· ·because I believe this was written to match the statute.
14· ·I imagine there's probably some jargon that was added in
15· ·there and that -- there was missing prior, but I -- I
16· ·think that the -- the body -- the gist of it's stayed
17· ·the same because it is within proceed -- statutory
18· ·requirements.
19· · · · Q· · What are the procedures today at the Adams
20· ·County Sheriff's Office before an employee is
21· ·terminated?
22· · · · A· · Hopefully, it's a long one.· There has to be
23· ·an investigation into alleged misconduct.· I'm going to
24· ·mess this up and people are going to harass me about it
25· ·for a while.· There's an allegation made, an allegation




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·1· ·made, there is an investigation into it.· That
·2· ·investigation is completed by our internal affairs
·3· ·typically.· Once internal affairs is finished with their
·4· ·investigation, they present the information received in
·5· ·the investigation to a review panel, which typically
·6· ·consists of a division chief, a commander, and a
·7· ·sergeant, not always but -- pardon me.· Once that review
·8· ·is made, that panel makes a determination guilty, not
·9· ·guilty, exonerated, et cetera.· Once they make that
10· ·determination, then they determine what the sanction
11· ·would be.· If the sanction would be low level, we've
12· ·empowered our sergeants to be able to dole out a certain
13· ·amount of discipline.· Commanders have the same ability
14· ·to dole out a certain amount.· Division chiefs have the
15· ·same abilities as well as to why, and then ultimately
16· ·the sheriff.· So if somebody were being terminated that
17· ·-- after the presentation board -- or panel would
18· ·determine that there was cause, then they would
19· ·determine what the sanction would be.· And if that
20· ·sanction is termination, that gets forwarded to my
21· ·office.· I review it.· Then I sit down with the
22· ·employee.· I go over -- but before I sit down with the
23· ·employee, I tend to review the -- the investigation
24· ·pretty thoroughly, sometimes to annoyance of some
25· ·people.· Once it -- I make the determination if that's




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·1· ·right, based on information I've received and the -- and
·2· ·the recommendation from the panel, I will have what's
·3· ·called a predetermination hearing with the employee.· At
·4· ·the predetermination hearing, I will inform them of the
·5· ·information that I've received, explain to them what --
·6· ·like, what the panel's recommendation was, and explain
·7· ·to them the next steps in the process, which is the
·8· ·final hearing where they'll be have -- have the
·9· ·opportunity to be heard by me.· They have the
10· ·opportunity to review the IA and all of its contents.
11· ·They'll plan that meeting with IA so that they can
12· ·review it.· They'll come back to me for the final
13· ·determination hearing where they're able to present the
14· ·evidence to contradict, and then I'll make a
15· ·determination if it's -- if I'm going to forward that
16· ·recommendation on to the sheriff or if I'm going to have
17· ·a different recommendation.
18· · · · Q· · Okay.· And you said hopefully long, why did
19· ·you -- what did you mean by that?
20· · · · A· · I tend to believe that if somebody's
21· ·pocketbook is going to be affected, that it -- it
22· ·deserves my full attention, that I should go through
23· ·every aspect of that investigation and make sure that
24· ·everything is -- is aboveboard and that every bit is --
25· ·is done correctly.




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